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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

WHITE DEPO PART 2
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in this contract that would preclude a party who signed
the contact from going ahead to bid on the RFP if that
party withdrew from the relationship?

MR. DELEHUNT: Same objections.

Go ahead.

THE WITNESS: I recall that there is a paragraph
in there. I don't recall if that was already negotiated
or not, when I was -- in those last meeting -- last one or
two meetings.

MR. HIGGINS: Q. So you recall no discussion -——-
you recall. the paragraph.

A. Yes.
Q. But you recall no discussion at this first

meeting you attended about that paragraph?

A. I don't recall any. It may have already been
negotiated.
Q. Mr. Hakeem, what do you remember -- what specific

terms do you remember Mr. Hakeem discussing at this first
meeting?

MR. DELEHUNT: Calls for speculation.

THE WITNESS: I don't recall any specifics.

MR. HIGGINS: ©. Did Mr. Meyer participate
continuously in the meeting, in the discussions at the
meeting?

MR. DELEHUNT: Objection, vague and ambiguous.
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THE WITNESS: He participated in the meeting,
yes.

MR. HIGGINS: Q. But continually throughout the
meeting, was he regularly participating in the discussion?

MR. DELEHUNT: Objection, vague and ambiguous.

THE WITNESS: There were three entities in the
room participating: A-One ambulance, AMR and the City of
Stockton.

MR. HIGGINS: Q. Did Mr. Meyer speak up only on

occasional instances when terms were being discussed?

MR. DELEHUNT: Calls for speculation.

THE WITNESS: I don't recall how many times he
spoke up.

MR. HIGGINS: Q. How about Mr. Hakeem, was he
continually involved in the discussions that were going
on?

MR. DELEHUNT: Vague and ambiguous.

THE WITNESS: Again, he was participating. I
don't recall how often.

MR. HIGGINS: @. Okay. How about Chief Gillis,
same question?

A. He participated, but I don't recall how often.

Mr. Hafey?
A. Mr. Hafey was active in the discussion.
Q. Do you recall how often?

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A. I can't say.

Q. Okay. Now that you've been talking -- or
testifying, excuse me, about the meeting for awhile, has
this refreshed your recollection as to whether or not
Mr. Rodriguez was present at the meeting?

A. I believe he was there.

Q. Okay. Do you remember him participating at all
in the meeting?

A. Not specifically, no.

Q. Okay. How about Mr. Rishwain? Now that you've
been thinking about the meeting for awhile, do you
remember Mr. Rishwain participating?

A. There were people coming in and out, and at that
time, I may not have known who they were. I'ma -- 1
believe Mr. Rishwain popped in and out, but I can't say

that for certain.

Q. Mr. Hakeem was there, for the entire meeting?
A. To the best of my recollection.
Q. So was there any other attorney who you knew to

be affiliated with the City of Stockton, besides
Mr. Rishwain, who was at that meeting?

A. I don't recall.

Q. Okay. Is it possible that there were times
during that meeting that Mr. Hakeem was the only attorney

in the room?
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A. Not that I can recall.

Q. In early 2004, to your knowledge, what did those
parties do to begin to prepare to respond to the County
RFP?

MR. DELEHUNT: Vague and ambiguous.

THE WITNESS: My recollection is there were
meetings at our Charter Way office. I attended one or two
of the first ones.

MR. HIGGINS: Q. Okay. How did you know those

_were the first ones?

A. I attended the first meeting or two.

Q. So it is your belief that you attended the first
meeting at which the City of Stockton representatives and
AMR representatives began to -- to prepare to respond to
the County RFP?

A. I believe that, and some time in early '04 that
AMR, A-One and the City of Stockton sat down and started
doing pre work.

Q. Okay. Who was present at this first meeting that
you attended?

A. . Chief Hafey, Mr. Rodriguez was there, Barry
Elzig, and myself. Donna McCann may have been -- may have
been present at those meetings also.

Q. Okay. Right now, I'm just talking about the very

first meeting, just one meeting. I'd like you to think
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about.
Was there any use of a projector and a screen
at this first meeting?

A. Not in the meeting I was at, I don't recall that.

Q Okay. Was there any use of a white board?

A. May have been, yes.

Q Okay. Who used a white board?

A I may have used the white board, Chief Hafey may
have used the white board.

Q. Did you personally disclose during this first
meeting to the other people who were there confidential
information about AMR's operations?

MR. DELEHUNT: Vague and ambiguous. Calis for
speculation, calls for a legal conclusion.

.THE WITNESS: My recollection is we were having
general -- general brainstorm-type discussion. [I don't
recall documents being exchanged.

MR. HIGGINS: Q. No. I mean the information
itself, did you just in discussions reveal anything of a
confidential nature about AMR to the other participants in
the meeting?

MR. DELEHUNT: Vague and ambiguous, calls for a
legal conclusion, lacks foundation, calls for speculation.

THE WITNESS: I don't recall specifics.

MR. HIGGINS: Q. So you don't recall whether you
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disclosed confidential information about AMR in that

meeting?

MR. DELEHUNT: Same objections.

THE WITNESS: I don't -- I don't recall the
specific --. generally, my recollection would be we

discussed RFP processes, in general. I know that we
offered to have our RFP team lead person, Mr. Scottie
Sayles, come in and basically do an instructive meeting to
explain RFP processes to the Stockton Fire Department and
all the nuts and bolts of those processes, and that
meeting happened later.

Again, may not have been the -- that specific
day, but we had our Risk Safety Department work with the
Stockton Fire Department where they were noncompliant in
several OSHA compliance areas for providing ambulance
services. Our Risk Safety Manager worked with them,
provided them our safety risk manual, and helped them
get compliant with various OSHA issues.

There was generalized discussion on RFP
credentialing documents.

MR. HIGGINS: Q. Did you say anything at that
first meeting to anyone at that meeting about the need to
maintain information about what you were doing in the
meeting in confidence?

A. I don't specifically recall.
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Q. okay. So it is possible you did?
MR. DELEHUNT: Calls for speculation.
THE WITNESS: I don't specifically recall.
MR. HIGGINS: Q. You don't specifically recall
whether you did or not; is that right?
MR. DELEHUNT: Calls for speculation.
MR. HIGGINS: Q. Is that right?

A. Correct.

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Q. Okay. Did you personally expect the participants

in that meeting to keep what went on in that meeting

confidential?

MR. DELEHUNT: Vague and ambiguous, calls for a
legal conclusion, calls for speculation.

THE WITNESS: Yes.

MR. HIGGINS: Q. Why?

MR. DELEHUNT: Calls for speculation.

THE WITNESS: If another provider were to
discover what we were doing, they could write something
better in their proposal.

MR. HIGGINS: ©. And did you believe that the
other participants in that meeting had an obligation to
maintain what went on in there in confidence?

MR. DELEHUNT: Calls for. a legal conclusion,
calls for speculation, vague and ambiguous. Lacks

foundation.

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THE WITNESS: I don't recall us discussing it,
SO...

MR. HIGGINS: Q. I'm asking about you
personally. Did you believe that the other participants
in that meeting had an obligation to maintain information
about what went on in the meeting in confidence?

MR. DELEHUNT: Calls for a legal conclusion,
calls for speculation, vague and ambiguous.

THE WITNESS: In the couple meetings I was in, I

don't recall us sharing confidential information.

MR. HIGGINS: Q. I'm talking about what did go
on, though. You testified just a minute ago that if
somebody outside the group learned about what was going on
inside, it might assist them in preparing a better
response to RFP, right?

A. (Nods head).
Q. Okay. For that reason, you decided to keep what
went on in confidence, correct?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous, calls for a legal conclusion.

MR. HIGGINS: Q. You personally.

A. I would not have personally gone out and shared
their information.
Q. For that reason, correct?

MR. DELEHUNT: Calls for speculation.
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THE WITNESS: I would not have gone out and
shared their information.

MR. HIGGINS: Q. Or AMR's information, correct?

A. I wouldn't normally go out and share AMR's
information in an RFP process, no.

Q. And you testified that the reason is because
letting someone outside the group know about what's going
on inside the group could assist someone else in preparing
a better response to the RFP, right?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous, calls for a legal conclusion, lacks foundation.

THE WITNESS: Information, if it got out, could
help someone write something better in their proposal.

MR. HIGGINS: Q. Okay. Was it important to AMR
that none of the participants in those meetings let
information about what went on in the meetings get outside
the group?

MR. DELEHUNT: Calls for speculation as to the
state of mind of the party. Vague and ambiguous. Calls
for a legal conclusion.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. Did AMR take any steps
to ensure that the other participants in the meeting would
not disclose information about what went on in the meeting

outside?
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A. I don't recall.

MR. DELEHUNT: Vague and ambiguous. Calls for
speculation as to what AMR did.

MR. HIGGINS: Q. At the time that you
participated in these meetings, did you believe that the
other -- did you believe you could trust the other parties
not to disclose the information outside the group?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous.

THE WITNESS: Yes.

MR. HIGGINS: Q. Why could you trust them, in
your opinion?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous.

THE WITNESS: I'm not sure how to answer your
question. You're asking me to guess.

MR. HIGGINS: Q. No, I'm asking for the
foundation for your trust. You said you felt you could
trust them. I'm asking you why did you feel that way?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous.

THE WITNESS: I don't recall why I felt that way.

MR. HIGGINS: Q. Did you think that those
parties who were participating also had an incentive to

maintain what went on at the meeting in confidence to make
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revise any of the language from the 2003 Agreement that

became part of Exhibit 3?

A. Yes.

Q. What language did you personally revise, do you
recall?

A. In reading it here, it looks like it primarily
changed about number -- if you can show me the other

Agreement. Looks like about number 6 here is where it

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started feeding in Lodi into the process, other than small

changes. previous to that.

Q. Okay. At the time that you were involved in
working on preparing Exhibit 3, was that in 2004?

A. Yes.

Q. Okay. Do you recall any discussion among the

people with whom you worked to create Exhibit 3, about the

language in paragraph 4 on page 2?

A. I believe that's the same language out of the
previous Agreement.

Q. Do you recall any discussion about that language
when those of you you've described worked on preparing
what became the Joint Venture Agreement, Exhibit 3?

A. My recollection is our goal here was to

incorporate Lodi, and I don't recall discussing that issue

during that process.

Q. Okay. Looking at paragraph 7, the first sentence

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there after number 7, do you recall discussion among the _

parties you've described who were working to prepare

Exhibit 3 -- excuse me, discussions about first responder
fees?
A. I don't recall specifics, but, yes, I believe we

would have.

Q. Okay. Now, that's something that related to
Lodi, right?

A. Correct.

Q. And it related to the City of Stockton?

A. Again, the goal in this revision.was to bring
Lodi into the Agreement.

Q. Okay. And you see 7B discusses first responder
fees to cover the marginal cost.. Do you see that, at the
very end of 7B?

A. Yes.

Q. Did you have any role in negotiating that
particular language in Exhibit 3?

MR. DELEHUNT: Assumes facts not in evidence,
lacks foundation.
THE WITNESS: Yes, I believe I would have.

MR. HIGGINS: ©. Okay. How about 7C, which

drafting the language that appears in paragraph 7C of

Exhibit 3?

gives examples of marginal costs, did you have any role in

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A. I don't recall specific discussion, but I guess I

would assume I was involved in that.
Q. Okay. Did you review the entire Joint Venture
Agreement in final form before anyone signed it on behalf

of AMR?

MR. DELEHUNT: Calls for speculation, vague and |

ambiguous.
THE WITNESS: Did I review this document and --

MR. HIGGINS: Q. Yes, in final form before

-anyone signed it on behalf of AMR?

A. Yes.
Q. Okay. And you see on the last page, there's a
signature above American Medical Response, Inc.?
A. I do.
Q Do you recognize that signature?
A I do.
Q. Whose is it?
A That's Lou Meyer.
Q Did you advise Mr. Meyer that this Agreement --
that he should sign this Agreement?
MR. DELEHUNT: Calls for opinion and conclusion.
Calls for a legal conclusion.
THE WITNESS: I gave it to him as the final
review. I don't recall that I recommended -- we had a

discussion where I recommended signing it.

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A. Yes.

Q. Did you read paragraph 15 before you presented
the final form of Exhibit 3 to Mr. Meyer for his
signature?

A. I would have read this entire document prior to
giving it to Mr. Meyer for his signature.

Q. This entire document, including paragraph 15,
correct?

A.. That is correct.

Q. Thank you.

MR. HIGGINS: Why don't we take a quick break?
Oh, we can stay on the record.

Q. For the record, I apologize for not mentioning at
the outset of the deposition, that you're entitled to a
break whenever you want one, except technically when a
question is pending, unless there's an issue of privilege,
at least that's my understanding of the law. So please
let me know if you want a break.

(Recess. )
MR. HIGGINS: Back on the record.

Q. You realize you're still under oath, Mr. White?

A. Yes.

Q. Great.

I'd like you to take a look at what has

previously been marked in this litigation -- here, you

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at that time so that he could particularly focus on the

can put Exhibit 3 back here, if you want.

Previously marked as Exhibit 31.

I'd like you to také a look at it, and then
tell me when you have finished looking at it.

Okay.

Do you recognize Exhibit 31, Mr. White?

I do.

Did you draft Exhibit 31?

A

Q

A

Q

A. Yes, I did.
Q Did you draft it in March of 2004?

A. Yes, I did.

Q Did you send it to Barry Elzig?

A Yes, I did.

Q. Did you assign Barry Elzig to be the team leader
in connection with the joint effort with the City of
Stockton and A-One Ambulance to respond to the San Joaquin
County RFP?

A. Yes.

Q. Did you relieve him of some of his normal duties

RFP process?
A. I did.
Q. See down at the very bottom, "SFD Request," do

you see that? Does that refer to the Stockton Fire

Department?
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Q. Same thing, under the sub bullet point, "What if
City of Stockton?" Do you see the very last entry there? _
It is on page 2 of the document, Exhibit 31, the sentence
beginning "Remaining funds go into," do you see that? And
then later in the sentence, there's a reference to "The
JV"?

What were you referring to there?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous.

THE WITNESS: Conceptual idea on my part.

MR. HIGGINS: Q. Okay. You see "Compliance"?
See that heading?

A. Yes.

Q. And then there's a big gap there with the word
"Redacted" stamped in there. Do you know what sort of
information was in that area that's been redacted?

A. I don't.

Q. Okay.

You can give that back to me, if you like.

I'd like you to take a look now at what has
previously been marked in this litigation as Exhibit 11.
Take a look at it, and tell me when you're finished.

Do you recognize Exhibit 11, Mr. White?

A. I do.

Q. Did you draft Exhibit 11?
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A. Yes, I did.

Q. Did you draft it in April 2004?

A. Yes, I did.

Q. Did you send it to Lou Meyer at that time?

A. By the header, it is appears I did, yes.

Q. Okay. Do you see down under the heading "San

Joaquin"? Why were you sending that information about San
Joaquin to Mr. Meyer?

MR. DELEHUNT: Compound, vague as phrased. But
you can answer the question.

THE WITNESS: It would have been to update him on
the status of the San Joaquin -- it is a status update on
San Joaquin.

MR. HIGGINS: Q. Okay. Do you see the second
bullet point, first sentence says, "Preliminary RFP work
is underway with SFD and A-One Ambulance."

Does SFD refer to Stockton Fire Department?

A. Yes, it does.

Q. And what preliminary RFP work do you recall being
underway at the time you drafted this memo?

A, At that point in time, I believe, as I testified
earlier, we had had preliminary educational meetings with
Stockton Fire discussing what does an REP process look
like? How do you do the writing, and various things. We

offered to bring in our RFP team to do that process. And
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probably at this time we were doing our safety work with
them also, as I discussed earlier.

Q. To prepare for the RFP that the parties were
working on in April of 2004, did you at AMR assume that
you would need such things as biographical information
about personnel who would be in the entity or entities
responding to the RFP?

MR. DELEHUNT: Vague and ambiguous as phrased.
Overbroad.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. Is that standard
information that normally would be part of a response to
an RFP?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous, lacks foundation.

THE WITNESS: Resumes, as an example, yes, are
generally -- of key personnel are generally kept in an RFP
proposal.

MR. HIGGINS: Q. Are there other types of
documents that are generally placed in an RFP, that you're
aware of?

A. Yes.

Q. Okay. At this time in April of 2004, had AMR and
City of Stockton together begun to gather such documents

and prepare such documents for a joint effort to respond
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to the County's RFP?

MR. DELEHUNT: Vague and ambiguous, overbroad.
Calls for speculation and lacks foundation.

THE WITNESS: We may have begun that process at
this point, yes.

MR. HIGGINS: Q. Okay. Are you aware that at
some point AMR and the City of Stockton definitely did do
that kind of work?

MR. DELEHUNT: Vague and ambiguous.

THE WITNESS: Yes, I believe we did. Barry Elzig
would be the one who would have been dealing with them on
that, and I believe Mr. Hafey held those documents in his
computer.

MR. HIGGINS: Q. Okay. You see the second
sentence next to this bullet point, "Anticipate LFD"?

Does that refer to Lodi Fire Department?

A. I'm sorry, where are we at?
Q. San Joaquin heading?
A. Yes.

Q. Second bullet --
A. That would be Lodi Fire.
Q. Okay. “Anticipate LFD joining the Joint
Venture."
What Joint Venture did you refer to there?

MR. DELEHUNT: Calls for an opinion and
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_ conclusion and a legal conclusion.

THE WITNESS: I believe my reference would have
been that we were working to bring them into the Joint
Venture Agreement.

MR. HIGGINS: Q. Exhibit 3 that you testified
about earlier?

A. Yes.

Q. Okay. Do you recall a time when Donna McCann
became an employee of AMR?

A. Yes.

Q. Okay. Is she currently an employee of AMR?

A. Yes, she is.

Q. When she first became an employee of AMR, do you

recall if the City of Stockton paid part of her salary?
A. This was a period of time where they paid a
portion of it, yes.
Q. Do you recall what period of time that was?
A. I.don't.
Q. Do you recall what portion they paid?
A. They were paying half.
Q. Okay.
MR. HIGGINS: I'd like to mark next in order.
(Whereupon Plaintiff's Exhibit 47 was

marked for Identification.)

MR. HIGGINS: Q. Mr. White, I'd like you to take

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wrap up?
MR. DELEHUNT: Yes. By "quick," do you mean
five -- for example, five minutes?

MR. HIGGINS: Less than five minutes, if

possible.
(Recess. )
MR. HIGGINS: Back on the record.
Q. You understand you're still under oath,
Mr. White?
A. Yes.
Q. Do you have an understanding as to why AMR was

initially interested in teaming up with the City of

Stockton to respond to the County's RFP?

A. I wouldn't have been in California at that time.

Q. I understand that. But do you have an
understanding as to why?

A. I couldn't say. I wasn't here at the time.

Q. When you came back and found out that such an
effort was contemplated, did anyone tell you why AMR had
made that decision?

A. I don't recall anyone telling me that.

Q. Did you have an understanding as to why AMR had
made that decision?

MR. DELEHUNT: Asked and answered.

THE WITNESS: I -- no one -- I don't recall

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STATE OF CALIFORNIA  ) .
COUNTY OF SAN JOAQUIN ) ss.

I, BOBBIE JO HARR, Certified Shorthand Reporter herein,
do hereby certify:

That on August 12, 2005, at 9:00 a.m., the witness
herein, BRADLEY WHITE, was duly sworn:

That said witness’ testimony and the proceedings had at
the time of such testimony were taken down in shorthand
notes by me; I thereafter caused said shorthand notes to be
transcribed into lLonghand typewriting, the following being a
full, true, and correct transcription therein;

That I am a disinterested person, and am not in any way
interested in the outcome of said action; nor connected with
nor related to any of the parties in said action, nor to

their respective counsel;

~--o000---
On August 13, 2005, all counsel were given notice of

-the preparation of the deposition, and the original

deposition was available for reading, correcting, approval,
or signing in our offices until September 15, 2005.
~--o000---
The witness signed the deposition and made no
corrections.
The witness and parties waived examination and reading

_of the deposition at the time of the taking of the

deposition.

The witness corrected, approved, or refused to approve
the deposition by letter to me attached thereto, and copies
of the letter were sent to all counsel.

The witness failed to appear at my office.

The witness appeared in my office, made changes to the

deposition, and counsel were provided with copies of the

changes.
The witness refused to approve or sign the deposition
for the following reasons:

Other:

IN WITNESS WHEREOF, I have hereunto subscribed my hand.
Pat : '
Tab Pouca KA AA
BOBBIE JO R,Y“CSR NO. 6090, RMR
COUNSEL: YOU WILL BE NOTIFIED OF ANY CHANGES OR CORRECTIONS
TO THE DEPOSITION. CONTACT OUR OFFICE IF YOU HAVE ANY
QUESTIONS. :

